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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

JAMES ELWOOD SMITH                                                             PLAINTIFF
ADC #121300

V.                              CASE NO. 4:22-cv-00635 JM

JODI RAINES DENNIS, Judge,
Circuit Court of Jefferson County                                            DEFENDANT

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ADJUDGED this 25th day of July, 2022.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
